Case 1:20-cv-03590-JEB Document 174-3 Filed 08/16/22 Page 1 of 7




               EXHIBIT A
Case 1:20-cv-03590-JEB Document 174-3 Filed 08/16/22 Page 2 of 7
Case 1:20-cv-03590-JEB Document 174-3 Filed 08/16/22 Page 3 of 7
Case 1:20-cv-03590-JEB Document 174-3 Filed 08/16/22 Page 4 of 7
Case 1:20-cv-03590-JEB Document 174-3 Filed 08/16/22 Page 5 of 7
Case 1:20-cv-03590-JEB Document 174-3 Filed 08/16/22 Page 6 of 7
Case 1:20-cv-03590-JEB Document 174-3 Filed 08/16/22 Page 7 of 7
